     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     Middle                District of _________________
             District of Tennessee     (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                              Chapter 7
                                                           
                                                           ✔
                                                           
                                                               Chapter 11
                                                               Chapter 12
                                                                                                                                    Check if this is an
                                                              Chapter 13                                                              amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                       06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Saffire Vapor Retail, LLC
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           DBA   Saffire Vapor
                                            ______________________________________________________________________________________________________
      in the last 8 years                   DBA   D8 Deliver
                                            ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                            Mailing address, if different from principal place
                                                                                                   of business
                                               5215 Linbar Dr.                                     _______________________________________________
                                            ______________________________________________
                                            Number     Street                                      Number     Street

                                               Suite 204
                                            ______________________________________________         _______________________________________________
                                                                                                   P.O. Box

                                               Nashville                    TN   37211
                                            ______________________________________________         _______________________________________________
                                            City                        State    ZIP Code          City                      State      ZIP Code

                                                                                                   Location of principal assets, if different from
                                                                                                   principal place of business
                                               Davidson County
                                            ______________________________________________
                                            County                                                 _______________________________________________
                                                                                                   Number     Street

                                                                                                   _______________________________________________

                                                                                                   _______________________________________________
                                                                                                   City                      State      ZIP Code




5.    Debtor’s website (URL)                ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                    page 1
            Case 3:23-bk-02264                  Doc  1 Filed 06/26/23 Entered 06/26/23 11:26:28                             Desc Main
                                                          Document              Page 1 of 73
                Saffire Vapor Retail, LLC
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            2319
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
      A debtor who is a “small business                       recent balance sheet, statement of operations, cash-flow statement, and federal income
      debtor” must check the first sub-                       tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
      box. A debtor as defined in
      § 1182(1) who elects to proceed                     
                                                          ✔
                                                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
      under subchapter V of chapter 11                        noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
      (whether or not the debtor is a                         Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
      “small business debtor”) must                           of operations, cash-flow statement, and federal income tax return, or if
      check the second sub-box.                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          
                                                          ✔   A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          Saffire Vapor Holdings, LLC                                        Affiliate
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               Middle District of Tennessee
                                                   District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

               Case
     Official Form 2013:23-bk-02264        Doc  1 Filed
                                            Voluntary          06/26/23
                                                      Petition for              Entered
                                                                   Non-Individuals             06/26/23 11:26:28
                                                                                   Filing for Bankruptcy                         Desc Main
                                                                                                                                      page 2
                                                     Document              Page 2 of 73
              Saffire Vapor Retail, LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                             ✔




12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99
                                             ✔
                                                                               5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000
                                             ✔
                                                                               $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 3
           Case 3:23-bk-02264                    Doc  1 Filed 06/26/23 Entered 06/26/23 11:26:28                                     Desc Main
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               Saffire Vapor Retail, LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                           $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              06/26/2023
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Robert Arnold
                                               _____________________________________________               Robert Arnold
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Managing Owner
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Robert Gonzales
                                               _____________________________________________              Date          06/26/2023
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Robert Gonzales
                                               _________________________________________________________________________________________________
                                               Printed name
                                                EmergeLaw, PLC
                                               _________________________________________________________________________________________________
                                               Firm name
                                                4235 Hillsboro Pike 350
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Nashville
                                               ____________________________________________________            TN              37215
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                6158151535
                                               ____________________________________                              robert@emerge.law
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                016705                                                         TN
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 4
           Case 3:23-bk-02264                  Doc  1 Filed 06/26/23 Entered 06/26/23 11:26:28                                       Desc Main
                                                         Document              Page 4 of 73
               Saffire Vapor Retail, LLC

 Debtor                                                              _                 Case number (if known)
              First Name      Middle Name    Last Name



                                                 Continuation Sheet for Official Form 201

10) Pending Bankruptcies

Ovid Ventures, LLC                   Middle District of
                                     Tennessee

Robert Arnold                        Middle District of
                                     Tennessee

Saffire                              Middle District of
Distributions, LLC                   Tennessee

Parapoint, LLC                       Middle District of
                                     Tennessee

VTC Delivery, LLC                    Middle District of
                                     Tennessee

Emperor Augustus,                    Middle District of
LLC                                  Tennessee




          Case 3:23-bk-02264                Doc 1        Filed 06/26/23      Entered 06/26/23 11:26:28          Desc Main
   Official Form 201                          Voluntary Petition for Non-Individuals Filing
                                                     Document             Page 5 of      73for Bankruptcy
 Fill in this information to identify the case:

                Saffire Vapor Retail, LLC
  Debtor name _________________________________________________________________

                                          Middle District of Tennessee
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                         143,504.24
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                           143,504.24
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                        1,410,679.52
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                          168,824.34
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                        3,094,124.64



4. Total liabilities ...........................................................................................................................................................................        4,673,628.50
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




               Case 3:23-bk-02264                                   Doc 1               Filed 06/26/23                         Entered 06/26/23 11:26:28                                           Desc Main
  Official Form 206Sum                                                    Document
                                                              Summary of Assets and Liabilities Page    6 of 73
                                                                                                for Non-Individuals                                                                                       page 1
      Fill in this information to identify the case:

                    Saffire Vapor Retail, LLC
      Debtor name __________________________________________________________________

                                              Middle District of Tennessee
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                          Check if this is an
      Case number (If known):   _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Truist                                                             Monies Loaned /
1    214 North Tryon St.                                                Advanced
     Charlotte, NC, 28202
                                                                                                                865,407.99        110,029.48         719,903.75


     Itria Ventures
2    1000 N West St #1200
     Wilmington, DE, 19801
                                                                                                                456,050.00        0.00               456,050.00


     Tennessee Department of Revenue                                    Taxes & Other
3    Tennessee Department of Revenue c/o                                Government Units
     Tennessee Attorney General's Office
                                                                                                                                                     168,824.34
     Bankruptcy Division
     P.O. Box 20207
     Nashville, TN, 37202
     530 Donelson LLC                                                   Alleged Rent Owed on    Disputed
4    c/o David Reed, Registered Agent                                   Terminated Lease
     425 S. Water Ave, Ste 5                                                                                                                         90,180.81
     Gallatin, TN, 37066


     Truist                                                             Monies Loaned /
5    214 North Tryon St.                                                Advanced
     Charlotte, NC, 28202                                                                                       89,221.53         110,029.48         89,221.53


     Bank of America                                                    Credit Card Debt
6    100 North Tryon St.
     Charlotte, NC, 28255                                                                                                                            52,258.44


     Citibank                                                           Credit Card Debt
7    388 Greenwhich St.
     New York, NY, 10013                                                                                                                             31,019.16


     Bank of America                                                    Credit Card Debt
8    100 North Tryon St.
     Charlotte, NC, 28255                                                                                                                            30,115.33




              Case 3:23-bk-02264
    Official Form 204
                                        Doc 1 Filed 06/26/23 Entered 06/26/23 11:26:28 Desc Main
                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                        page 1
                                                  Document             Page 7 of 73
                      Saffire Vapor Retail, LLC
    Debtor           _______________________________________________________                     Case number (if known)_____________________________________
                     Name




     Name of creditor and complete           Name, telephone number,       Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code     and email address of          (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                             creditor contact              debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                           professional           unliquidated,   total claim amount and deduction for value of
                                                                           services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                           government
                                                                           contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff
     R&L CPA: Stan Robinson                                              Services
9    PO Box 2521
     Carrollton, GA, 30118                                                                                                                              19,768.00


     Vapemod                                                             Suppliers or Vendors
10 FNYBB inc
     3016 South Wentworth                                                                                                                               5,000.00
     Chicago, IL, 60616


     Pure Synergy                                                        Suppliers or Vendors
11 200 2nd Ave S. #443
     Saint Petersburg, FL, 33701                                                                                                                        2,437.50


     F&W Enterprises                                                     Suppliers or Vendors
12 4504 N Roxboro St
     Durham, NC, 27704                                                                                                                                  2,378.75



     Comcast                                                             Utility Services
13 PO Box 71211
     Charlotte, NC, 28272                                                                                                                               522.34


     Comcast                                                             Utility Services
14 PO Box 71211
     Charlotte, NC, 28272                                                                                                                               479.96


     ADT, LLC                                                            Services
15 c/o Weltman Weinberg & Reis
     5000 Bradenton Avenue, Suite 100
                                                                                                                                                        360.45
     Dublin, OH, 43017

     LG&E                                                                Utility Services
16 PO Box 9001960
     Louisville, KY, 40290                                                                                                                              298.63


     KUB                                                                 Utility Services
17 PO Box 59029
     Knoxville, TN, 37950
                                                                                                                                                        265.00


     City of Alcoa                                                       Utility Services
18 PO Box 9610
     Alcoa, TN, 37701                                                                                                                                   255.24


     Nashville Electric Service                                          Utility Services
19 P O Box 305099
     Nashville, TN, 37230
                                                                                                                                                        252.00


     Comcast                                                             Utility Services
20 PO Box 71211
     Charlotte, NC, 28272                                                                                                                               241.42




               Case 3:23-bk-02264
    Official Form 204
                                        Doc 1 Filed 06/26/23 Entered 06/26/23 11:26:28 Desc Main
                          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                           page 2
                                                  Document             Page 8 of 73
  Fill in this information to identify the case:

               Saffire Vapor Retail, LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Middle District of Tennessee
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________
                                                                                                                                   0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                   Type of account             Last 4 digits of account number
          Bank of America (Operating)
    3.1. _________________________________________________  Checking
                                                           ______________________              ____ ____ ____ ____               $______________________
                                                                                                                                   3.39
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____                 35,671.09
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 35,674.48
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________

              Case 3:23-bk-02264                       Doc 1   Filed 06/26/23 Entered 06/26/23 11:26:28                          Desc Main
   Official Form 206A/B                                        Schedule A/B: Assets
                                                               Document         Page Real
                                                                                       9 ofand73
                                                                                               Personal Property                              page 1
Debtor           Saffire Vapor Retail, LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                   $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.


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                                                                                    10 and Personal Property
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                   Saffire Vapor Retail, LLC
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used        Current value of
                                                        physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
                                                                                                                                        45,000.00
  Inventory in various stores (some held as property of another)
   ________________________________________              ______________                                                               $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                     45,000.00
                                                                                                                                      $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔      No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     ✔
            No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used        Current value of debtor’s
                                                                                 debtor's interest        for current value            interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________     $______________________
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Official Form 206A/B                                         Schedule A/B: Assets
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                Saffire Vapor Retail, LLC
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture

                                                                                  $________________     ____________________      $______________________
40. Office fixtures
Various Furniture and Fixtures in Stores (Cabinetry Exterior Sign
Televisions Computers Minifridges Printers Security Cameras Microwaves)                                                             24,355.00
                                                                                  $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                     24,355.00
                                                                                                                                   $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
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Official Form 206A/B                                        Schedule A/B: Assets
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                 Saffire Vapor Retail, LLC
 Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      ✔


      Yes. Fill in the information below.

    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________      ____________________       $______________________

    47.2___________________________________________________________         $________________      ____________________       $______________________

    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________       ____________________       $______________________

    48.2__________________________________________________________         $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________       ____________________       $______________________

    49.2__________________________________________________________         $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




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 Official Form 206A/B                                      Schedule A/B: Assets
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                   Saffire Vapor Retail, LLC
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
       ✔


        Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.

55.1

                                                                                     $_______________      ____________________        $_____________________

55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
           No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
           No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




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                                                                                        14 and Personal Property
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Debtor            Saffire Vapor Retail, LLC
                 _______________________________________________________                            Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     ✔
           Yes. Fill in the information below.
                                                                                                                                          Current value of
                                                                                                                                          debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                        _______________     –   __________________________         =    $_____________________
                                                                        Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)
      ERTC Applied for
     _________________________________________________________________________________                                  2020-2021
                                                                                                              Tax year ___________         Unknown
                                                                                                                                         $_____________________
     _________________________________________________________________________________
                                                                                                              Tax year ___________       $_____________________
     _________________________________________________________________________________
                                                                                                              Tax year ___________       $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                      $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     Turnover/Breach of Contract Elavon 800 Nicollet Mall Minneapolis, MN 55402-7000
    ______________________________________________________________                                                                        Unknown
                                                                                                                                        $_______________________
    Nature of claim                     Merchant Processor
                                       ___________________________________

    Amount requested                     58,269.23
                                       $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
     Return of Security Deposit on Lease
    ______________________________________________________________                                                                        0.00
                                                                                                                                        $_______________________

    Nature of claim                     Return of Security Deposit on Terminated Lease 503 Donelson Pike Nashville
                                       ___________________________________

    Amount requested                     3,500.00
                                       $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                        $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
    ERTC credit held by Adams Keegan (Payroll company)
   ____________________________________________________________                                                                            33,474.76
                                                                                                                                         $_____________________
    Clean Room
   ____________________________________________________________                                                                            5,000.00
                                                                                                                                         $_____________________
78. Total of Part 11.
                                                                                                                                           38,474.76
                                                                                                                                         $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔     No
         Yes
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Official Form 206A/B                                             Schedule A/B: Assets
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                   Saffire Vapor Retail, LLC
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         35,674.48
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         45,000.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         24,355.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         38,474.76
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         143,504.24                            0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  143,504.24                                                                                       143,504.24
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




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Official Form 206A/B                                                    Schedule A/B: Assets
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                Saffire Vapor Retail, LLC
 Debtor 1                                                             _          Case number (if known)
               First Name      Middle Name     Last Name



                                                   Continuation Sheet for Official Form 206 A/B

3) Checking, savings, money market, or financial brokerage accounts

PNC Bank (Operating)                         Checking

Balance: 178.79

Regions Bank (Checking                       Checking
and Operations)

Balance: 17,270.76

Truist (Operating and                        Checking
Payroll)

Balance: 18,221.54




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Official Form 206 A/B                                      DocumentSchedule A/B: Property
                                                                         Page    17 of 73
  Fill in this information to identify the case:
              Saffire Vapor Retail, LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Middle District of Tennessee

  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     Itria Ventures

      __________________________________________                                                                                   456,050.00
                                                                                                                                 $__________________          0.00
                                                                                                                                                            $_________________

     Creditor’s mailing address

      1000 N West St #1200
      ________________________________________________________
      Wilmington, DE 19801
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Agreement    you made, As stated in Note
                                                                 _________________________________________________
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________          
                                                                 ✔   No
    Last 4 digits of account                                        Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                   No
    same property?                                               
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                 As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
                                                                    Contingent
                                                                    Unliquidated
                                                                 
                                                                 ✔   Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Truist
                                                                 Various Furniture and Fixtures in Stores                        $__________________
                                                                                                                                  865,407.99                $_________________
                                                                                                                                                             110,029.48
      __________________________________________                 (Cabinetry Exterior Sign Televisions
     Creditor’s mailing address                                  Computers Minifridges Printers Security
      214 North Tryon St.
      ________________________________________________________   Cameras Microwaves), Inventory in various
      Charlotte, NC 28202
      ________________________________________________________   stores (some held as property of another),
                                                                 Return of Security Deposit on Lease, Clean
    Creditor’s email address, if known
                                                                 Room
      _________________________________________
                                                                 Describe the lien
                             12/15/2015
    Date debt was incurred __________________
    Last 4 digits of account                                      Agreement you made, All assests
                                                                  _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
     No                                                         Is anyone else liable on this claim?
    
    ✔ Yes. Have you already specified the relative
                                                                    No
              priority?
                                                                 
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
    Truist, 1st; Truist, 2nd                                     Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                  specified on lines _____                          Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    1,410,679.52
                                                                                                                                  $________________
    Page, ifCase
            any.         3:23-bk-02264                     Doc 1   Filed 06/26/23 Entered 06/26/23 11:26:28                                        Desc Main
   Official Form 206D                                             Document
                                                     Schedule D: Creditors          PageSecured
                                                                           Who Have Claims 18 of by
                                                                                                 73Property                                                             3
                                                                                                                                                              page 1 of ___
                   Saffire Vapor Retail, LLC
  Debtor            _______________________________________________________                                   Case number (if known)_____________________________________
                    Name



                                                                                                                                 Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                               Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Truist
                                                                 Various Furniture and Fixtures in Stores
      __________________________________________                 (Cabinetry Exterior Sign Televisions                             89,221.53
                                                                                                                                 $__________________      110,029.48
                                                                                                                                                         $_________________
     Creditor’s mailing address                                  Computers Minifridges Printers Security
                                                                 Cameras Microwaves), Inventory in various
      214 North Tryon St.
      ________________________________________________________
                                                                 stores (some held as property of another),
      Charlotte, NC 28202
      ________________________________________________________
                                                                 Return of Security Deposit on Lease, Clean
                                                                 Room
     Creditor’s email address, if known
      _________________________________________



     Date debt was incurred          __________________          Describe the lien
     Last 4 digits of account                                     Agreement you made
                                                                  __________________________________________________
     number                   _________________
                                                                 Is the creditor an insider or related party?
     Do multiple creditors have an interest in the               
                                                                 ✔   No
     same property?                                                 Yes
      No
     
     ✔ Yes. Have you already specified the relative
                                                                 Is anyone else liable on this claim?
               priority?                                            No
              No. Specify each creditor, including this         
                                                                 ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
           
           ■
               Yes. The relative priority of creditors is           Unliquidated
                                        2.2
                   specified on lines _____                      
                                                                 ✔   Disputed


2.__ Creditor’s name                                             Describe debtor’s property that is subject to a lien



      __________________________________________                                                                                 $__________________     $_________________
     Creditor’s mailing address


      ________________________________________________________

      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred          __________________
                                                                 Describe the lien
     Last 4 digits of account
     number                   _________________                   __________________________________________________


     Do multiple creditors have an interest in the               Is the creditor an insider or related party?
     same property?                                                 No
      No                                                           Yes

      Yes. Have you already specified the relative              Is anyone else liable on this claim?
               priority?                                            No
              No. Specify each creditor, including this
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                 As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
              Yes. The relative priority of creditors is           Unliquidated
                   specified on lines _____                         Disputed

               Case 3:23-bk-02264                           Doc 1    Filed 06/26/23 Entered 06/26/23 11:26:28                                     Desc Main
  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___
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                                                                                                                                                                        3
                                                                    Document      Page 19 of 73
Debtor
               Saffire Vapor Retail, LLC
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity


                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________


            Case 3:23-bk-02264                 Doc 1        Filed 06/26/23             Entered 06/26/23 11:26:28                     Desc Main
Form 206D                          Official Part 2 of Schedule D: Creditors Who
                                                          Document              Have Claims
                                                                             Page    20 of Secured
                                                                                            73     by Property                                  page ___
                                                                                                                                                      3 of ___
                                                                                                                                                           3
      Fill in this information to identify the case:

      Debtor
                      Saffire Vapor Retail, LLC
                      __________________________________________________________________

                                              Middle District of Tennessee
      United States Bankruptcy Court for the: ________________________________

      Case number      ___________________________________________
      (If known)

                                                                                                                                          Check if this is an
                                                                                                                                            amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                         12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
          No. Go to Part 2.
      
      ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________
                                                                                                              168,824.34                  168,824.34
    Tennessee Department of Revenue                                                                                                     $_________________
                                                               Check all that apply.
    Tennessee Department of Revenue c/o                           Contingent
    Tennessee Attorney General's Office Bankruptcy                Unliquidated
    Division                                                      Disputed
    P.O. Box 20207
    Nashville, TN, 37202                                       Basis for the claim:
      Date or dates debt was incurred                           Taxes & Other Government Units
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      _______________________                      ✔ No

                                                                Yes
      Specify Code subsection of PRIORITY unsecured
                                  8
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

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  Official Form 206E/F                                      Document
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                                                                E/F: Creditors Who Have21  of 73 Claims
                                                                                        Unsecured                                                        17
                                                                                                                                              page 1 of ___
               Saffire Vapor Retail, LLC
  Debtor       _______________________________________________________                               Case number (if known)_____________________________________
                Name


 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    530 Donelson LLC                                                                                                           90,180.81
                                                                                                                             $________________________________
                                                                              Contingent
    c/o David Reed, Registered Agent                                          Unliquidated
    425 S. Water Ave, Ste 5                                                
                                                                           ✔
                                                                               Disputed
    Gallatin, TN, 37066                                                                            Alleged Rent Owed on Terminated Lease
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    ADT, LLC                                                               Check all that apply.                               360.45
                                                                                                                             $________________________________
    c/o Weltman Weinberg & Reis                                               Contingent
    5000 Bradenton Avenue, Suite 100                                          Unliquidated
    Dublin, OH, 43017                                                         Disputed
                                                                           Basis for the claim:
                                                                                                   Services


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            9136
                                               __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Albany Road- Haywood Oaks, LLC                                                                                             0.00
                                                                                                                             $________________________________
                                                                              Contingent
    Attn: Brandon Hoag                                                        Unliquidated
    201 4th Avenue, Suite 1250                                             
                                                                           ✔   Disputed
    Nashville, TN, 37219
                                                                           Basis for the claim:
                                                                                                   Guarantor

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    AT&T                                                                   Check all that apply.
                                                                                                                               131.15
                                                                                                                             $________________________________
    PO Box 10330                                                              Contingent
    Fort Wayne, IN, 46851                                                     Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:
                                                                                                   Utility Services

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            3087
                                               __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    AT&T                                                                                                                       132.02
                                                                                                                             $________________________________
                                                                           Check all that apply.
    PO Box 10330                                                              Contingent
    Fort Wayne, IN, 46851                                                     Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
                                                                                                   Utility Services

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            6421
                                               __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    AT&T                                                                                                                       155.43
                                                                                                                             $________________________________
                                                                           Check all that apply.
    PO Box 10330                                                              Contingent
    Fort Wayne, IN,                                                           Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:    Utility Services

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________
                                               4194                        
                                                                           ✔
                                                                               No
                                                                              Yes
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                  Saffire Vapor Retail, LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             132.02
                                                                                                                     $________________________________
 AT&T                                                                   Contingent
 PO Box 10330                                                           Unliquidated
 Fort Wayne, IN, 46851                                                  Disputed

                                                                     Basis for the claim: Utility Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       7022
                                              ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       218.91
                                                                                                                     $________________________________
 AT&T
 PO Box 10330                                                           Contingent
 Fort Wayne, IN, 46851                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       7111
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 AT&T                                                                Check all that apply.
                                                                                                                      144.46
                                                                                                                     $________________________________
 PO Box 10330                                                           Contingent
 Fort Wayne, IN, 46851                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              0916                   
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      Unknown
                                                                                                                     $________________________________
 Atmos Energy                                                        Check all that apply.
 PO Box 650205                                                          Contingent
 Dallas, TX, 75265-0205                                                 Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              4289                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Auburndale Nashville Highway Company, LLC                           Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 The Robert Carlin Companies                                            Contingent
 5485 Belt Line Road, Suite 125                                         Unliquidated
 Dallas, TX, 75254                                                      Disputed
                                                                     Basis for the claim: Lease Rejection



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes



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                  Saffire Vapor Retail, LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             30,115.33
                                                                                                                     $________________________________
 Bank of America                                                        Contingent
 100 North Tryon St.                                                    Unliquidated
 Charlotte, NC, 28255                                                   Disputed

                                                                     Basis for the claim: Credit Card Debt



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       52,258.44
                                                                                                                     $________________________________
 Bank of America
 100 North Tryon St.                                                    Contingent
 Charlotte, NC, 28255                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 BGMU                                                                Check all that apply.
                                                                                                                      100.59
                                                                                                                     $________________________________
 PO Box 10360                                                           Contingent
 Bowling Green, KY, 42102                                               Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              0633                   
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      Undetermined
                                                                                                                     $________________________________
 BSM Thornton, LLC                                                   Check all that apply.
 3011 Armory Drive                                                      Contingent
 Suite 250                                                              Unliquidated
 Nashville, TN, 37204                                                   Disputed

                                                                     Basis for the claim: Lease Rejection



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Canvast Supply Co. LLC                                              Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 935 E Trinity Ln Nashville, TN 37027                                   Contingent
 Nashville, TN, 37207                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes



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                  Saffire Vapor Retail, LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             230.46
                                                                                                                     $________________________________
 CDE Lightband                                                          Contingent
 Clarksville, TN, 37040                                                 Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       9942
                                              ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       31,019.16
                                                                                                                     $________________________________
 Citibank
 388 Greenwhich St.                                                     Contingent
 New York, NY, 10013                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 City of Alcoa                                                       Check all that apply.
                                                                                                                      255.24
                                                                                                                     $________________________________
 PO Box 9610                                                            Contingent
 Alcoa, TN, 37701                                                       Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              5703                   
                                                                     ✔
                                                                         No
                                                                        Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      148.16
                                                                                                                     $________________________________
 City of Cookeville                                                  Check all that apply.
 45 East Broad Street                                                   Contingent
 Cookeville, TN, 38501                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              6981                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 City of Dickson                                                     Check all that apply.
                                                                                                                       16.00
                                                                                                                     $________________________________
 600 E Walnut Street                                                    Contingent
 Dickson, TN, 37055                                                     Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              6466                      Yes



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                  Saffire Vapor Retail, LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             70.00
                                                                                                                     $________________________________
 City of Murfreesboro                                                   Contingent
 PO Box 1139                                                            Unliquidated
 Murfreesboro, TN, 37133                                                Disputed

                                                                     Basis for the claim: Utility Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       6239
                                              ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       37.93
                                                                                                                     $________________________________
 Clarksville Gas & Water
 PO Box 31329                                                           Contingent
 Clarksville, TN, 37043                                                 Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       1501
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Comcast                                                             Check all that apply.
                                                                                                                      64.28
                                                                                                                     $________________________________
 PO Box 71211                                                           Contingent
 Charlotte, NC, 28272                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              5904                   
                                                                     ✔
                                                                         No
                                                                        Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      241.32
                                                                                                                     $________________________________
 Comcast                                                             Check all that apply.
 PO Box 71211                                                           Contingent
 Charlotte, NC, 28272                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              7480                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Comcast                                                             Check all that apply.
                                                                                                                       217.19
                                                                                                                     $________________________________
 PO Box 71211                                                           Contingent
 Charlotte, NC, 28272                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              0577                      Yes



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                  Saffire Vapor Retail, LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             241.42
                                                                                                                     $________________________________
 Comcast                                                                Contingent
 PO Box 71211                                                           Unliquidated
 Charlotte, NC, 28272                                                   Disputed

                                                                     Basis for the claim: Utility Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       3457
                                              ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       479.96
                                                                                                                     $________________________________
 Comcast
 PO Box 71211                                                           Contingent
 Charlotte, NC, 28272                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       3791
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Comcast                                                             Check all that apply.
                                                                                                                      522.34
                                                                                                                     $________________________________
 PO Box 71211                                                           Contingent
 Charlotte, NC, 28272                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              3294                   
                                                                     ✔
                                                                         No
                                                                        Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      25.26
                                                                                                                     $________________________________
 Dickson Electric                                                    Check all that apply.
 236 Cowan Road                                                         Contingent
 Dickson, TN, 37056                                                     Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              6863                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Elizabethtown Utilities                                             Check all that apply.
                                                                                                                       25.73
                                                                                                                     $________________________________
 PO Box 5550                                                            Contingent
 Elizabethtown, KY, 42702                                               Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              4000                      Yes



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                  Saffire Vapor Retail, LLC
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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             2,378.75
                                                                                                                     $________________________________
 F&W Enterprises                                                        Contingent
 4504 N Roxboro St                                                      Unliquidated
 Durham, NC, 27704                                                      Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  33
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       42.61
                                                                                                                     $________________________________
 FUD
 Dept. 1340                                                             Contingent
 Birmingham, AL, 35287                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       8002
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  34
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Hardin County Clerk                                                 Check all that apply.
                                                                                                                      18.00
                                                                                                                     $________________________________
 150 N Provident Way                                                    Contingent
 #103                                                                   Unliquidated
 Elizabethtown, KY, 42701                                               Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  35
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      33.92
                                                                                                                     $________________________________
 Hardin County Water                                                 Check all that apply.
 1400 Rogersville Road                                                  Contingent
 Radcliff, KY, 40160                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              7210                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  36
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Haygood Farms, LLC                                                  Check all that apply.
                                                                                                                       234.00
                                                                                                                     $________________________________
 PO Box 4351                                                            Contingent
 Chattanooga, TN, 37405                                                 Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  37
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                     $________________________________
 Haynes Property LLC                                                    Contingent
 ATTN: Bobby Haynes                                                     Unliquidated
 1216 Heil Quaker Blvd                                                  Disputed
 La Vergne, TN, 37086
                                                                     Basis for the claim: Guarantor on Lease



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  38
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       112.69
                                                                                                                     $________________________________
 Hopkinsville Water
 401 E. 9th Street                                                      Contingent
 Hopkinsville, KY, 42240                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       2002
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  39
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Itria Ventures                                                      Check all that apply.
                                                                                                                      456,050.00
                                                                                                                     $________________________________
 1000 N West St #1200                                                   Contingent
 Wilmington, DE, 19801                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  40
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 Koi CBD, LLC                                                        Check all that apply.
 18101 Von Karmen Ave                                                   Contingent
 Irvine, CA, 92612                                                      Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  41
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 KU                                                                  Check all that apply.
                                                                                                                       225.17
                                                                                                                     $________________________________
 PO Box 9001954                                                         Contingent
 Louisville, KY, 40290                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              5752                      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  42
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             265.00
                                                                                                                     $________________________________
 KUB                                                                    Contingent
 PO Box 59029                                                           Unliquidated
 Knoxville, TN, 37950                                                   Disputed

                                                                     Basis for the claim: Utility Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       6082
                                              ___________________
  43
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       298.63
                                                                                                                     $________________________________
 LG&E
 PO Box 9001960                                                         Contingent
 Louisville, KY, 40290                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       5882
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  44
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 LUCB                                                                Check all that apply.
                                                                                                                      135.90
                                                                                                                     $________________________________
 PO Box 449                                                             Contingent
 Lenoir City, TN, 37771                                                 Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              2147                   
                                                                     ✔
                                                                         No
                                                                        Yes
  45
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      130.58
                                                                                                                     $________________________________
 Middle Tennessee Electric                                           Check all that apply.
 PO Box 681709                                                          Contingent
 Franklin, TN, 37068                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              6001                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  46
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Middle Tennessee Electric                                           Check all that apply.
                                                                                                                       129.63
                                                                                                                     $________________________________
 PO Box 681709                                                          Contingent
 Franklin, TN, 37068                                                    Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              2172                      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  47
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             105.14
                                                                                                                     $________________________________
 Middle Tennessee Electric                                              Contingent
 PO Box 681709                                                          Unliquidated
 Franklin, TN, 37068                                                    Disputed

                                                                     Basis for the claim: Utility Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       8427
                                              ___________________
  48
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       160.75
                                                                                                                     $________________________________
 Middle Tennessee Electric
 PO Box 681709                                                          Contingent
 Franklin, TN, 37068                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       7644
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  49
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nashville Electric Service                                          Check all that apply.
                                                                                                                      252.00
                                                                                                                     $________________________________
 P O Box 305099                                                         Contingent
 Nashville, TN, 37230                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              8522                   
                                                                     ✔
                                                                         No
                                                                        Yes
  50
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      199.00
                                                                                                                     $________________________________
 Nashville Electric Service                                          Check all that apply.
 P O Box 305099                                                         Contingent
 Nashville, TN, 37230                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              2123                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  51
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nashville Electric Service                                          Check all that apply.
                                                                                                                       144.00
                                                                                                                     $________________________________
 P O Box 305099                                                         Contingent
 Nashville, TN, 37230                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              5655                      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  52
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             219.00
                                                                                                                     $________________________________
 Nashville Electric Service                                             Contingent
 P O Box 305099                                                         Unliquidated
 Nashville, TN, 37230                                                   Disputed

                                                                     Basis for the claim: Utility Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       4871
                                              ___________________
  53
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       185.00
                                                                                                                     $________________________________
 Nashville Electric Service
 P O Box 305099                                                         Contingent
 Nashville, TN, 37230                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       5150
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  54
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Nashville Metro Water Services                                      Check all that apply.
                                                                                                                      27.30
                                                                                                                     $________________________________
 PO Box 305225                                                          Contingent
 Nashville, TN, 37230                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              1306                   
                                                                     ✔
                                                                         No
                                                                        Yes
  55
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      3.50
                                                                                                                     $________________________________
 Naturally Kratom, LLC                                               Check all that apply.
 13326 Immanuel Rd Box 3                                                Contingent
 Pflugerville, TX, 78660                                                Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  56
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Pennyrile Electric                                                  Check all that apply.
                                                                                                                       156.63
                                                                                                                     $________________________________
 PO Box 2900                                                            Contingent
 Hopkinsville, KY, 42241                                                Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              8001                      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  57
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             144.49
                                                                                                                     $________________________________
 Piedmont Natural Gas                                                   Contingent
 PO Box 660920                                                          Unliquidated
 Dallas, TX, 75266                                                      Disputed

                                                                     Basis for the claim: Utility Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       4001
                                              ___________________
  58
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       55.11
                                                                                                                     $________________________________
 Piedmont Natural Gas
 PO Box 660920                                                          Contingent
 Dallas, TX, 75266                                                      Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       4001
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  59
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Piedmont Natural Gas                                                Check all that apply.
                                                                                                                      102.41
                                                                                                                     $________________________________
 PO Box 660920                                                          Contingent
 Dallas, TX, 75266                                                      Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              4007                   
                                                                     ✔
                                                                         No
                                                                        Yes
  60
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      124.32
                                                                                                                     $________________________________
 Piedmont Natural Gas                                                Check all that apply.
 PO Box 660920                                                          Contingent
 Dallas, TX, 75266                                                      Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              4006                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  61
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Piedmont Natural Gas                                                Check all that apply.
                                                                                                                       218.09
                                                                                                                     $________________________________
 PO Box 660920                                                          Contingent
 Dallas, TX, 75266                                                      Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              5001                      Yes



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  62
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             2,437.50
                                                                                                                     $________________________________
 Pure Synergy                                                           Contingent
 200 2nd Ave S. #443                                                    Unliquidated
 Saint Petersburg, FL, 33701                                            Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  63
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       19,768.00
                                                                                                                     $________________________________
 R&L CPA: Stan Robinson
 PO Box 2521                                                            Contingent
 Carrollton, GA, 30118                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  64
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert Arnold                                                       Check all that apply.
                                                                                                                      1,587,400.00
                                                                                                                     $________________________________
 5215 Linbar Ave.                                                       Contingent
 Ste. 204                                                               Unliquidated
 Nashville, TN, 37211                                                   Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  65
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      10.68
                                                                                                                     $________________________________
 Smyrna Utilities                                                    Check all that apply.
 PO Box 290009                                                          Contingent
 Nashville, TN, 37229                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              3702                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  66
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Spectrum                                                            Check all that apply.
                                                                                                                       157.41
                                                                                                                     $________________________________
 PO Box 94188                                                           Contingent
 Palatine, IL, 60094                                                    Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              0481                      Yes



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                                                                                                                                                          17
                  Saffire Vapor Retail, LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  67
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             132.97
                                                                                                                     $________________________________
 Spectrum                                                               Contingent
 PO Box 94188                                                           Unliquidated
 Palatine, IL, 60094                                                    Disputed

                                                                     Basis for the claim: Utility Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       7494
                                              ___________________
  68
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       157.96
                                                                                                                     $________________________________
 Spectrum
 PO Box 94188                                                           Contingent
 Palatine, IL, 60094                                                    Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       7396
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  69
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Spectrum                                                            Check all that apply.
                                                                                                                      137.96
                                                                                                                     $________________________________
 PO Box 94188                                                           Contingent
 Palatine, IL, 60094                                                    Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              3928                   
                                                                     ✔
                                                                         No
                                                                        Yes
  70
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      719,903.75
                                                                                                                     $________________________________
 Truist                                                              Check all that apply.
 214 North Tryon St.                                                    Contingent
 Charlotte, NC, 28202                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  71
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Truist                                                              Check all that apply.
                                                                                                                       89,221.53
                                                                                                                     $________________________________
 214 North Tryon St.                                                    Contingent
 Charlotte, NC, 28202                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes



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                  Saffire Vapor Retail, LLC
  Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                  Name



Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  72
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             5,000.00
                                                                                                                     $________________________________
 Vapemod                                                                Contingent
 FNYBB inc                                                              Unliquidated
 3016 South Wentworth                                                   Disputed
 Chicago, IL, 60616
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  73
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       121.20
                                                                                                                     $________________________________
 Vertigo Vapor, Inc.
 150 N Gibson Rd Ste C                                                  Contingent
 Henderson, NV, 89014                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  74
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Vivid Data Group, LLC                                               Check all that apply.
                                                                                                                      Unknown
                                                                                                                     $________________________________
 330 Earhart Dr Ste 102                                                 Contingent
 Carrollton, TX, 75006                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

                                                                     Basis for the claim:



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                        No
        Last 4 digits of account number       ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.                           $________________________________
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed
                                                                     Basis for the claim:



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                        No
        Last 4 digits of account number       ___________________       Yes



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               Saffire Vapor Retail, LLC
 Debtor        _______________________________________________________                    Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                         5a.
                                                                                                                    168,824.34
                                                                                                                  $_____________________________




5b. Total claims from Part 2                                                                         5b.    +       3,094,124.64
                                                                                                                  $_____________________________




5c. Total of Parts 1 and 2                                                                                          3,262,948.98
                                                                                                     5c.          $_____________________________
   Lines 5a + 5b = 5c.




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 Fill in this information to identify the case:

             Saffire Vapor Retail, LLC
 Debtor name __________________________________________________________________

                                         Middle District of Tennessee
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Lease: Murfreesboro TN (Store 1)                  The Poteat Family Limited Partnership
         State what the contract or    Lessor                                            Holrob Commercial Realty
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         7441 S. Northshore Drive, Suite 103
                                                                                         Knoxville, TN, 37919
         State the term remaining
                                       04/30/2028
         List the contract number of
         any government contract

                                       Lease: Cool Springs (Store 2)                     Cool Springs Associates, LLC
         State what the contract or    Lessor                                            5660 Peachtree Industrial Blvd
 2.2     lease is for and the nature
         of the debtor’s interest                                                        Norcross, GA, 30071

         State the term remaining      12/31/2023
         List the contract number of
         any government contract

                                       Lease: Nippers Corner Nashville,                   BSM Nippers, LLC
         State what the contract or    TN (Store 12)                                      3001 Armory Drive
 2.3     lease is for and the nature
         of the debtor’s interest      Lessor                                             Suite 250
                                                                                          Nashville, TN, 37204
         State the term remaining      05/31/26
         List the contract number of
         any government contract

                                       Lease: Hendersonville, TN (Store 3)                P&M Investment Company, LLC
         State what the contract or
 2.4                                   Lessor                                             2 Buckland Abbey Drive
         lease is for and the nature
         of the debtor’s interest                                                         Nashville, TN, 37215

         State the term remaining      12/31/2023
         List the contract number of
         any government contract

                                       Lease: Clarksville, TN (Store 4)                   Cavin P&M Clarksville, LLC
         State what the contract or    Lessor
 2.5     lease is for and the nature
                                                                                          6204 Mapleton Ct.
         of the debtor’s interest                                                         Brentwood, TN, 37027

         State the term remaining      01/31/2024
         List the contract number of
         any government contract



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               Saffire Vapor Retail, LLC
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Lease: Cookeville, TN (Store 5)                V3 Venture Partners
            State what the contract or    Lessee                                         345 S. Jefferson Ave
   6
 2.____     lease is for and the nature                                                  Suite 306
            of the debtor’s interest
                                                                                         Cookeville, TN, 38501
                                          04/01/2024
            State the term remaining
            List the contract number of
            any government contract

                                          Lease: Smyrna, TN (Store 6)                    Yale Smyrna, LLC
            State what the contract or    Lessor                                         c/o Yale Realty Services Corp.
   7
 2.____     lease is for and the nature
            of the debtor’s interest                                                     10 King Street, Suite 102
                                                                                         White Plains, NY, 10604
            State the term remaining      12/31/2024
            List the contract number of
            any government contract

                                          Lease: Merchants Knoxville, TN                 Graham, GP
            State what the contract or    (Store 7)                                      PO Box 12489
   8
 2.____     lease is for and the nature
            of the debtor’s interest
                                          Lessor                                         Knoxville, TN, 37912

            State the term remaining
                                          04/01/2024
            List the contract number of
            any government contract

            State what the contract or
                                          Lease: Mt. Juliet, TN (Store 9)                Graves Crossing Retail LLC
   9
 2.____     lease is for and the nature   Lessor                                         7101 Sharondale Ct.
            of the debtor’s interest                                                     Suite 600
                                                                                         Brentwood, TN, 37027
            State the term remaining      06/30/2024
            List the contract number of
            any government contract

                                          Lease: Charlotte Pike, Nashville               NRF Marketplace, LLC
            State what the contract or    (Store 10)                                     1045 S. Woodmill Road
   10
 2.____     lease is for and the nature   Lessor                                         6 East Monroe, Suite 300
            of the debtor’s interest
                                                                                         Chesterfield, MO, 63017
            State the term remaining
                                          09/30/2027
            List the contract number of
            any government contract

                                          Lease: Dickson, TN (Store 18)                  BSM Thornton, LLC
            State what the contract or
   11
 2.____     lease is for and the nature   Lessor                                         3011 Armory Drive
            of the debtor’s interest                                                     Suite 250
                                                                                         Nashville, TN, 37204
            State the term remaining      05/31/26
            List the contract number of
            any government contract

                                          Lease: Hopkinsville KY (Store 20)              KPCG Properties
            State what the contract or
   12
 2.____     lease is for and the nature
                                          Lessor                                         2500 Daniel Bridgees Road
            of the debtor’s interest                                                     Building 100, Second Floor
                                                                                         Athens, GA, 30606
            State the term remaining      08/31/26
            List the contract number of
            any government contract

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               Saffire Vapor Retail, LLC
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Lease: Elizabethtown KY (Store 22)             Elizabethtown Investment Partners, LLC
            State what the contract or                                                   GBT Realty Corporation
   13
 2.____     lease is for and the nature                                                  9010 Overbrook Blvd.
            of the debtor’s interest
                                                                                         Brentwood, TN, 37027
                                          10/31/26
            State the term remaining
            List the contract number of
            any government contract

                                          Lease: Bowling Green KY (Store                 Auburndale Nashville Highway Company, LLC
            State what the contract or    23)                                            The Robert Carlin Companies
   14
 2.____     lease is for and the nature
            of the debtor’s interest      Lessor                                         5485 Belt Line Road, Suite 125
                                                                                         Dallas, TX, 75254
            State the term remaining      09/30/27
            List the contract number of
            any government contract

                                          Lease: Maryville Alcoa, TN (Store              Delta Properties Alcoa LLC
            State what the contract or    24)                                            701 East Bay
   15
 2.____     lease is for and the nature
            of the debtor’s interest
                                          Lessor                                         Suite 515
                                                                                         Charleston, SC, 29403
            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
                                          2021 Ram ProMaster Cargo Van,                  Doering Leasing Company
   16
 2.____     lease is for and the nature   2022 Cayanne, 2021 GMC Sierra                  15300 W. Capitol Drive
            of the debtor’s interest      Lessor                                         Brookfield, WI, 53005
            State the term remaining      02/01/26
            List the contract number of
            any government contract

                                          Terminated Lease: 530 Donelson                 530 Donelson LLC
            State what the contract or    Pike Nashville                                 c/o David Reed, Registered Agent
   17
 2.____     lease is for and the nature   Lessor                                         425 S. Water Ave, Ste 5
            of the debtor’s interest
                                                                                         Gallatin, TN, 37066
            State the term remaining
                                          Terminated
            List the contract number of
            any government contract

                                          Lease: Turkey Creek Knoxville, TN              Hatcher Hill Investment Group IV, LLC
            State what the contract or
   18
 2.____     lease is for and the nature   (Store 8)                                      128 N. Northshore Drive
            of the debtor’s interest      Lessor                                         Suite 201
                                                                                         Knoxville, TN, 37919
            State the term remaining      01/31/2024
            List the contract number of
            any government contract

                                          Lease: 5215 Linbar Suite 204                   ECG Midtown, LLC
            State what the contract or
   19
 2.____     lease is for and the nature
                                          Nashville (Office)                             ECG Haywood, LP
            of the debtor’s interest                                                     118 6th Ave. S., Suite 200
                                                                                         Nashville, TN, 37203
            State the term remaining
            List the contract number of
            any government contract

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               Saffire Vapor Retail, LLC
Debtor         _______________________________________________________                      Case number (if known)_____________________________________
               Name




           Addit iona l Pa ge if De bt or Ha s M ore Ex e c ut ory Cont ra c ts or Une x pire d Le a se s

          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

     List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                        whom the debtor has an executory contract or unexpired lease

                                          Lease: Dixie Hwy. Louisville, KY               Louisville Moonlight, LLC
            State what the contract or    (Store 21)                                     NAI Fortis Group, LLC
   20
 2.____     lease is for and the nature   Lessor                                         462 South 4th Street, Suite 400
            of the debtor’s interest
                                                                                         Louisville, KY, 40202
                                          08/31/26
            State the term remaining
            List the contract number of
            any government contract

                                          Merchant Processing Agreement                  Elavon, Inc.
            State what the contract or                                                   7300 Chapman Highway
   21
 2.____     lease is for and the nature
            of the debtor’s interest                                                     Knoxville, TN, 37920

            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract


            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

            State what the contract or
 2.____     lease is for and the nature
            of the debtor’s interest

            State the term remaining
            List the contract number of
            any government contract

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 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Saffire Vapor Retail, LLC

                                         Middle District of Tennessee
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:

       Saffire Vapor                 5215 Linbar Dr.
 2.1
                                     Suite 204                                                           NRF   Marketplace, LLC
                                                                                                          _____________________               D
       Holdings, LLC                                                                                                                          E/F
                                     Nashville, TN 37211                                                                                     ✔ G
                                                                                                                                             




 2.2                          5215 Linbar
                              Suite 204                                                                  Elizabethtown
                                                                                                          _____________________        D
                                                                                                                          Investment Partners, LLC
                                                                                                                                              E/F
                              Nashville, TN 37211                                                                                            ✔ G
                                                                                                                                             
       Saffire Vapor Holdings, LLC



 2.3                                 5215 Linbar Dr., Suite 204
                                     Nashville, TN 37211                                                  Doering   Leasing Company  D
                                                                                                           _____________________
                                                                                                                                              E/F
                                                                                                                                             ✔ G
                                                                                                                                             
       Robert Arnold


 2.4
                                     5215 Linbar Dr. Suite 204
                                     Nashville, TN 37211                                                 Bank  of America
                                                                                                          _____________________               D
                                                                                                                                             ✔ E/F
                                                                                                                                             
       Robert Arnold                                                                                                                          G



 2.5                                 5215 Linbar Dr., Suite 204
                                     Nashville, TN 37211                                                 Citibank
                                                                                                          _____________________               D
                                                                                                                                             ✔ E/F
                                                                                                                                             
       Robert Arnold                                                                                                                          G




 2.6                                 5215 Linbar Dr., Suite 204
                                     Nashville, TN 37211                                                 Bank  of America
                                                                                                          _____________________               D
                                                                                                                                             ✔ E/F
                                                                                                                                             
       Robert Arnold                                                                                                                          G




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                                                               Schedule H: Codebtors                                                                      3
                                                                                                                                               page 1 of ___
               Saffire Vapor Retail, LLC
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   7
 2.___    Robert Arnold          5215 Linbar Dr., Suite 204                                  Itria Ventures
                                                                                                                              ✔ D
                                                                                                                              
                                 Nashville, TN 37211                                                                           E/F
                                                                                                                               G




   8
 2.___    Robert Arnold          5215 Linbar Dr., Suite 204                                  Truist
                                                                                                                              ✔ D
                                                                                                                              
                                 Nashville, TN 37211                                                                           E/F
                                                                                                                               G




   9
 2.___    Robert Arnold          5215 Linbar Dr., Suite 204                                  Tennessee Department              D
                                 Nashville, TN 37211                                         of Revenue                       ✔ E/F
                                                                                                                              
                                                                                                                               G




   10
 2.___    Robert Arnold          5215 Linbar Dr., Suite 204                                  Truist                           ✔ D
                                                                                                                              
                                 Nashville, TN 37211                                                                           E/F
                                                                                                                               G




   11
 2.___    Parapoint LLC          5215 Linbar Dr. Suite 204                                   Haynes Property LLC               D
                                 Nashville, TN 37211                                                                          ✔ E/F
                                                                                                                              
                                                                                                                               G




   12
 2.___    Robert Arnold          5215 Linbar Dr., Suite 204                                  Truist                            D
                                 Nashville, TN 37211                                                                          ✔ E/F
                                                                                                                              
                                                                                                                               G




   13
 2.___    Robert Arnold          5215 Linbar Dr., Suite 204                                  Truist
                                                                                                                               D
                                 Nashville, TN 37211                                                                          ✔ E/F
                                                                                                                              
                                                                                                                               G




   14
 2.___
          Saffire Vapor          5215 Linbar Dr.                                             ECG Midtown, LLC                  D
          Distributions, LLC     Suite 204                                                                                     E/F
                                 Nashville, TN 37211                                                                          ✔ G
                                                                                                                              




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                                                                                                                                             3
               Saffire Vapor Retail, LLC
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Addit iona l Pa ge if De bt or Ha s M ore Code bt ors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                   Mailing address                                           Name
                                                                                                                             that apply:

   15
 2.___    Robert Arnold          5215 Linbar Dr. Suite 204                                   Elavon, Inc.
                                                                                                                               D
                                 Nashville, TN 37211                                                                           E/F
                                                                                                                              ✔ G
                                                                                                                              




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




 2.___
                                                                                                                               D
                                                                                                                               E/F
                                                                                                                               G




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                                                       Schedule H: Codebtors                                                     page ___
                                                                                                                                       3 of ___
                                                                                                                                             3
Fill in this information to identify the case:
             Saffire Vapor Retail, LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Middle District of TennesseeDistrict of _________
                                                                              (State)
Case number (If known):   _________________________                                              ___________________________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                            1,977,121.23
           fiscal year to filing date:           01/01/2023
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2022
                                           From ___________         to     12/31/2022
                                                                           ___________         
                                                                                               ✔ Operating a business                       5,494,061.00
                                                                                                                                   $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2021
                                           From ___________         to     12/31/2021
                                                                           ___________         
                                                                                               ✔ Operating a business
                                                                                                                                            5,394,153.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔   None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________




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                 Saffire Vapor Retail, LLC
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              R&L CPA: Stan Robinson
             __________________________________________                       $_________________
                                                                               17,711.00                         Secured debt
             Creditor’s name
              PO Box 2521
                                                                                                                 Unsecured loan repayments
              Carrollton, GA 30118                                                                               Suppliers or vendors

                                                                                                            
                                                                                                            ✔     Services

                                                                                                                 Other _______________________________


     3.2.

              See Attached SOFA Part 2, Question 3                            $_________________
                                                                               468,443.60                        Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.
             Robet Arnold
             __________________________________________      _________         67,227.35
                                                                             $__________________
             Insider’s name
                                                                                                          Salary (one year prior to filing)
             5215 Linbar Dr., Suite 204 Nashville, TN        _________
             37221
             Nashville, TN 37211
                                                             _________


             Relationship to debtor
              CEO
             __________________________________________



     4.2.    Bo Landry
             __________________________________________
             Insider’s name
                                                             _________         132,691.00
                                                                             $__________________
             5215 Linbar Dr., Suite 204 Nashville, TN                                                     Salary (1 year prior to filing)
             37221                                           _________
             Nashville, TN 37211
                                                             _________




             Relationship to debtor
             COO
             __________________________________________



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                 Saffire Vapor Retail, LLC
Debtor           _______________________________________________________                          Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                              Nature of case                           Court or agency’s name and address               Status of case
            Itria Ventures LLC v. Saffire Vapor                                              Supreme Court of New York County of Kings
     7.1.   Retail, LLC et. al                       Breach of Contract                                                                        
                                                                                                                                               ✔   Pending

                                                                                                                                                  On appeal

             Case number                                                                     360 Adams St #4                                      Concluded
                                                                                             Brooklyn, NY 11201
      5170003/2023
             _________________________________

             Case title                                                                       Court or agency’s name and address
                                                                                                                                                  Pending
     7.2.
                                                                                                                                                  On appeal

             Case number
                                                                                                                                                  Concluded




             _________________________________


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Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



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                Saffire Vapor Retail, LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            EmergeLaw, PLC
            __________________________________________
   11.1.                                                                                                                 06/25/2023
                                                                                                                         ______________      $_________
                                                                                                                                               0.00
            Address

            4235 Hillsboro Road
            Suite 350
            Nashville, TN 37215




            Email or website address
            _________________________________

            Who made the payment, if not debtor?

            Parapoint, LLC (See EmergeLaw Employment Application)
            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




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Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




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Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the             If debtor provides meals
                                                             debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.    ________________________________________                                                                                      ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                      How are records kept?


                                                                                                                                          Check all that apply:

                                                                                                                                             Electronically
                                                                                                                                             Paper

                                                             Nature of the business operation, including type of services the             If debtor provides meals
            Facility name and address                        debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.                                                                                                                                  ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                          Check all that apply:
                                                                                                                                           Electronically
                                                                                                                                          Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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Debtor            Saffire Vapor Retail, LLC
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

        None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                    612,082.00
                                                                                                                                                  $_________
          All Inventory Suppliers for Stores
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 9
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                Saffire Vapor Retail, LLC
Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

          None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

           Saffire Vapor Holdings, LLC                                                                     EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed
             5215 Linbar Dr.
             Suite 204
             Nashville, TN 37211                                                                                                         To ____________
                                                                                                           From ___________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

           Saffire Vapor Distributions, LLC                                                                EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed
             5215 Linbar Dr.
             Suite 204
             Nashville, TN 37211                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 10
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                   Saffire Vapor Retail, LLC
Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Martha Faircloth                                                                                From _______
   26a.1.     __________________________________________________________________________________
              Name
              5215 Linbar Dr., Suite 204 Nashville, TN 37221                                                  To _______




              Name and address                                                                                Dates of service

              Bo Landry                                                                                       From _______
   26a.2.     __________________________________________________________________________________
              Name
              5215 Linbar Dr., Suite 204 Nashville, TN 37221                                                 To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     Stan Robinson of R&L CPA's
                    ______________________________________________________________________________
                    Name
                     PO Box 2521 Woodstock GA 30118




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 11
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                    Saffire Vapor Retail, LLC
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔     None

                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 12
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                Saffire Vapor Retail, LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 Saffire Vapor Holdings, LLC                 5215 Linbar Dr. Suite 204, Nashville, TN 37211                                                  100




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔     No
          Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    ______________________________________________________________            _________________________          _____________
            Name


                                                                                                                         _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 13
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                   Saffire Vapor Retail, LLC
Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       06/26/2023
                               _________________
                                MM / DD / YYYY



              /s/ Robert Arnold
              ___________________________________________________________                              Robert Arnold
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Managing Owner
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
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               Saffire Vapor Retail, LLC
 Debtor Name                                                                         Case number (if known)



                                              Continuation Sheet for Official Form 207

4) Payments or other transfers of property made within 1 year before filing this case that
benefited any insider

See Attached SOFA                                              $55,100.00
Part 2, Question 4




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  Official Form 207                          Statement of Financial Affairs for Non-Individuals
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                              Robert Arnold (Return of Capital):
2023:
January 4th = $5,000
January 11th = $5,000
February 22nd = $5,000
March 8th = $2,500
May 17th = $2,500
May 24th = $5,000
May 25th = $1,600
May 31st = $5,000

2022:
July 13th = $3,000
July 27th = $3,000
August 10th = $1,500
August 31st = $2,000
September 14th = $1,500
October 5th = 6,000
October 12th = $2,000




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Financial
            ACB payment                     4/7/23    $9,386.96
            ACB payment                     5/9/23    $9,434.70

            Saffire Loan 1 payment         3/27/23   $27,621.60
            Saffire Loan 1 payment         4/25/23   $27,621.60
            Saffire Loan 1 payment         5/25/23   $27,621.60
            Saffire Loan 2 payment          4/4/23    $2,964.19
            Saffire Loan 2 payment          5/4/23    $2,964.19
            Saffire Loan 2 payment          6/6/23    $2,964.19
            TN Sales tax plan               4/4/23    $4,352.88
            TN Sales tax plan               5/4/23    $4,352.88
            TN Sales tax plan               6/6/23    $4,352.88
            Greenburg                      4/28/23    $7,600.00
            Greenburg                      3/30/23    $1,025.00
            R&L CPAS                       6/20/23   $37,479.00

            Citi Card                      4/17/23   $10,000.00
            Citi Card                      4/18/23   $10,000.00
            Citi Card                       5/2/23   $11,000.00
            Citi Card                      5/17/23    $2,000.00
            Citi Card                       4/4/23    $1,500.00
            Citi Card                       4/4/23   $11,000.00
            Citi Card                      4/25/23    $9,000.00
            Citi Card                       5/1/23    $1,000.00
            Citi Card                      5/23/23   $10,000.00
            Citi Card                      5/31/23   $10,000.00

            Maple Leaf Investments         5/30/23   $11,302.48
            Maple Leaf Investments         5/12/23   $11,302.48
            Maple Leaf Investments          4/7/23   $11,302.48
            Capstar Loan                   6/10/23    $4,368.17
            Capstar Loan                   5/10/23    $4,368.17
            Capstar Loan                   4/27/23    $4,368.17
            Capstar Loan                    4/3/23    $4,368.17

            Itria Ventures                 4/12/23    $7,111.11
            Itria Ventures                 4/19/23    $7,111.11
            Itria Ventures                 4/26/23    $7,111.11
            Itria Ventures                  5/3/23    $7,111.11
            Itria Ventures                 5/10/23    $7,111.11
            Itria Ventures                 5/17/23    $6,666.67


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            Itria Ventures                 3/27/23    $6,666.67
            Itria Ventures                 3/31/23    $6,666.67

Suppliers
            VapeMod                         5/1/23     $912.20
            VapeMod                         5/8/23     $667.80
            VapeMod                        3/27/23    $2,150.40
            VapeMod                         4/3/23    $1,902.60
            VapeMod                        4/10/23    $1,907.30
            VapeMod                        4/17/23    $1,246.80
            VapeMod                        5/16/23     $903.70
            VapeMod                        5/22/23     $770.70


            Gen Rev Labs                    4/7/23    $6,768.75
            Gen Rev Labs                   4/17/23    $7,331.75
            Gen Rev Labs                   4/13/23    $8,023.75
            Gen Rev Labs                   4/28/23    $7,055.50
            Gen Rev Labs                    5/1/23    $8,098.75
            Gen Rev Labs                   5/11/23    $7,911.25
            Gen Rev Labs                   6/20/23   $13,627.25

            Nature's Perfect               4/10/23    $3,761.50
            Nature's Perfect               5/23/23    $2,743.00
            Nature's Perfect               5/30/23    $2,989.50
            Nature's Perfect               5/12/23    $3,438.50
            Nature's Perfect                5/4/23    $3,104.00
            Nature's Perfect               4/17/23    $2,888.00
            Nature's Perfect               4/10/23    $3,627.50
            Nature's Perfect               4/10/23    $3,627.50
            Nature's Perfect               4/10/23    $3,761.50

            F&W                             5/1/23    $1,281.00
            F&W                             5/1/23    $1,197.50
            F&W                            4/18/23    $1,486.50
            F&W                             5/2/23     $302.25

            Pure                           5/23/23     $776.00
            Pure                            5/8/23     $792.00
            Pure                            5/1/23     $716.00
            Pure                           4/26/23     $809.75
            Pure                           4/21/23     $791.00



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       Mag Industries                 5/12/23     $1,610.25
       Mag Industries                  5/2/23     $1,816.50
       Mag Industries                 4/27/23     $1,192.00
       Mag Industries                 4/14/23     $1,611.75
       Mag Industries                 4/17/23     $1,539.50
       Mag Industries                  6/5/23     $1,124.75
                                                $468,443.60




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       VapeMod             5/1/23    $912.20
       VapeMod             5/8/23    $667.80
       VapeMod            3/27/23   $2,150.40
       VapeMod             4/3/23   $1,902.60
       VapeMod            4/10/23   $1,907.30
       VapeMod            4/17/23   $1,246.80
       VapeMod            5/16/23    $903.70
       VapeMod            5/22/23    $770.70

       Koi                 5/1/23     $42.00
       Koi                 5/8/23    $119.00
       Koi                3/27/23    $103.25
       Koi                 4/3/23    $119.00
       Koi                4/10/23     $99.75
       Koi                4/17/23    $122.50
       Koi                5/22/23    $129.50

       Baton              5/22/23     $74.25
       Baton              4/17/23     $67.50
       Baton              4/10/23     $60.75
       Baton               4/3/23     $74.25
       Baton              3/27/23     $87.75
       Baton              5/16/23     $54.00
       Baton               5/1/23     $60.75
       Baton               5/8/23     $13.50

       Vivid Data          5/1/23   $1,343.31

       Gen Rev Labs        4/7/23   $6,768.75
       Gen Rev Labs       4/17/23   $7,331.75
       Gen Rev Labs       4/13/23   $8,023.75
       Gen Rev Labs       4/28/23   $7,055.50
       Gen Rev Labs        5/1/23   $8,098.75
       Gen Rev Labs       5/11/23   $7,911.25

       Nature's Perfect   4/10/23   $3,761.50
       Nature's Perfect   5/23/23   $2,743.00
       Nature's Perfect   5/30/23   $2,989.50
       Nature's Perfect   5/12/23   $3,438.50
       Nature's Perfect    5/4/23   $3,104.00
       Nature's Perfect   4/17/23   $2,888.00
       Nature's Perfect   4/10/23   $3,627.50


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       Nature's Perfect 4/10/23       $3,627.50
       Nature's Perfect 4/10/23       $3,761.50

       Radical Labs       4/14/23      $328.50
       Radical Labs       4/14/23      $441.50

       Canvast             5/1/23       $50.50
       Canvast             5/1/23       $43.00

       Haywood            5/15/23       $24.00
       Haywood             6/5/23       $24.00

       Naturally Kratom 5/17/23         $18.00
       Naturally Kratom 5/2/23          $13.50
       Naturally Kratom 5/8/23          $10.00

       F&W                 5/1/23     $1,281.00
       F&W                 5/1/23     $1,197.50
       F&W                4/18/23     $1,486.50
       F&W                 5/2/23      $302.25

       Pure               5/23/23      $776.00
       Pure                5/8/23      $792.00
       Pure                5/1/23      $716.00
       Pure               4/26/23      $809.75
       Pure               4/21/23      $791.00

       Mag Industries     5/12/23     $1,610.25
       Mag Industries      5/2/23     $1,816.50
       Mag Industries     4/27/23     $1,192.00
       Mag Industries     4/14/23     $1,611.75
       Mag Industries     4/17/23     $1,539.50
       Mag Industries      6/5/23     $1,124.75




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       Saffire       #1               6/1/23   $3,907.24
       Saffire       #1              5/12/23   $3,907.24
       Saffire       #1               4/7/23   $3,314.19
       Saffire       #2               6/1/23   $2,946.67
       Saffire       #2               5/1/23   $2,946.67
       Saffire       #2               4/1/23   $2,946.67
       Saffire       #3               6/1/23   $3,672.05
       Saffire       #3               5/1/23   $3,672.05
       Saffire       #3               4/1/23   $3,672.05
       Saffire       #3               4/1/23    $310.04
       Saffire       #3               4/1/23    $635.58
       Saffire       #4               6/1/23   $4,829.64
       Saffire       #4               5/1/23   $4,829.64
       Saffire       #4               4/1/23   $4,829.64
       Saffire       #5               4/3/23   $2,252.78
       Saffire       #5               6/1/23   $2,252.78
       Saffire       #5               5/1/23   $2,399.02
       Saffire       #6               5/1/23   $4,192.50
       Saffire       #6               4/1/23   $4,192.50
       Saffire       #7               5/1/23   $2,520.00
       Saffire       #7               4/1/23   $2,520.00
       Saffire       #8               5/1/23   $4,162.50
       Saffire       #8               4/1/23   $4,162.50
       Saffire       #9               4/1/23   $5,073.78
       Saffire       #9               5/1/23   $5,073.78
       Saffire       #9               6/1/23   $5,073.78
       Saffire       #10             5/16/23   $3,978.73
       Saffire       #10              4/7/23   $3,806.50
       Saffire       #12              4/1/23   $5,354.75
       Saffire       #12              5/1/23   $5,379.76
       Saffire       #12              6/1/23   $5,094.63
       Saffire       #18              4/1/23   $3,511.72
       Saffire       #18              5/1/23   $3,535.18
       Saffire       #20              4/1/23   $5,080.20
       Saffire       #20              5/1/23   $5,273.58
       Saffire       #21              6/1/23   $5,812.18
       Saffire       #21              5/1/23   $5,812.18
       Saffire       #21              4/1/23   $5,812.18
       Saffire       #22              5/5/23   $5,729.55
       Saffire       #22              4/3/23   $5,729.55
       Saffire       #23             5/11/23   $3,019.69


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       Saffire       #23              4/7/23 $3,019.69
       Saffire       #23              6/7/23 $3,019.69
       Saffire       #24              6/1/23 $3,083.48
       Saffire       #24             5/16/23 $3,106.20
       Saffire       #24             4/11/23 $3,083.48
       Saffire       WH              4/11/23 $10,324.37
       Saffire       WH              5/19/23 $10,324.37

       Ovid          Boynton          5/5/23   $4,527.03
       Ovid          Boynton          4/3/23   $6,564.31
       Ovid          Northlake

       Parapoint     Heil Quaker     5/30/23 $14,564.00
       Parapoint     Heil Quaker     5/30/23 $2,642.00
       Parapoint     Heil Quaker      4/7/23 $14,353.71
       Parapoint     Heil Quaker      4/7/23 $2,642.00
       VTC           J&J Cantore      5/5/23 $1,840.00
       VTC           J&J Cantore      4/3/23 $1,840.00




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 Fill in this information to identify the case and this filing:

              Saffire Vapor Retail, LLC
 Debtor Name __________________________________________________________________

                                         Middle District of Tennessee
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    06/26/2023
        Executed on ______________                          /s/ Robert Arnold
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Robert Arnold
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Managing Owner
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                          United States Bankruptcy Court
IN RE:                                                               Case No.__________________
Saffire Vapor Retail, LLC                                                       11
__________________________________________________________ Chapter __________________

                                  LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder    Shares                 Security Class
                                                              (Or Percentage)        (or kind of interest)

 Saffire Vapor Holdings, LLC                                 100
 5215 Linbar Dr. Suite 204, Nashville, TN 37211




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                              United States Bankruptcy Court
                                 Middle District of Tennessee




         Saffire Vapor Retail, LLC
In re:                                                           Case No.

                                                                 Chapter    11
                      Debtor(s)




                              Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               06/26/2023                          /s/ Robert Arnold
Date:
                                                   Signature of Individual signing on behalf of debtor

                                                   Managing Owner
                                                   Position or relationship to debtor




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530 Donelson LLC                                      Citibank
c/o David Reed, Registered Agent                      388 Greenwhich St.
425 S. Water Ave, Ste 5                               New York, NY 10013
Gallatin, TN 37066
                                                      City of Alcoa
ADT, LLC                                              PO Box 9610
c/o Weltman Weinberg & Reis                           Alcoa, TN 37701
5000 Bradenton Avenue, Suite 100
Dublin, OH 43017                                      City of Cookeville
                                                      45 East Broad Street
Albany Road- Haywood Oaks, LLC                        Cookeville, TN 38501
Attn: Brandon Hoag
201 4th Avenue, Suite 1250                            City of Dickson
Nashville, TN 37219                                   600 E Walnut Street
                                                      Dickson, TN 37055
AT&T
PO Box 10330                                          City of Murfreesboro
Fort Wayne, IN 46851                                  PO Box 1139
                                                      Murfreesboro, TN 37133
AT&T
PO Box 10330                                          Clarksville Gas & Water
Fort Wayne, IN                                        PO Box 31329
                                                      Clarksville, TN 37043
Atmos Energy
PO Box 650205                                         Comcast
Dallas, TX 75265-0205                                 PO Box 71211
                                                      Charlotte, NC 28272
Auburndale Nashville Highway Company, LLC
The Robert Carlin Companies                           Cool Springs Associates, LLC
5485 Belt Line Road, Suite 125                        5660 Peachtree Industrial Blvd
Dallas, TX 75254                                      Norcross, GA 30071

Bank of America                                       Delta Properties Alcoa LLC
100 North Tryon St.                                   701 East Bay
Charlotte, NC 28255                                   Suite 515
                                                      Charleston, SC 29403
BGMU
PO Box 10360                                          Dickson Electric
Bowling Green, KY 42102                               236 Cowan Road
                                                      Dickson, TN 37056
BSM Nippers, LLC
3001 Armory Drive                                     Doering Leasing Company
Suite 250                                             15300 W. Capitol Drive
Nashville, TN 37204                                   Brookfield, WI 53005

BSM Thornton, LLC                                     ECG Midtown, LLC
3011 Armory Drive                                     ECG Haywood, LP
Suite 250                                             118 6th Ave. S., Suite 200
Nashville, TN 37204                                   Nashville, TN 37203

Canvast Supply Co. LLC                                Elavon, Inc.
935 E Trinity Ln Nashville, TN 37027                  7300 Chapman Highway
Nashville, TN 37207                                   Knoxville, TN 37920

Cavin P&M Clarksville, LLC                            Elizabethtown Investment Partners, LLC
6204 Mapleton Ct.                                     GBT Realty Corporation
Brentwood, TN 37027                                   9010 Overbrook Blvd.
                                                      Brentwood, TN 37027
CDE Lightband
Clarksville, TN 37040                                 Elizabethtown Utilities
                                                      PO Box 5550
                                                      Elizabethtown, KY 42702




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F&W Enterprises                                        KU
4504 N Roxboro St                                      PO Box 9001954
Durham, NC 27704                                       Louisville, KY 40290

FUD                                                    KUB
Dept. 1340                                             PO Box 59029
Birmingham, AL 35287                                   Knoxville, TN 37950

Graham, GP                                             LG&E
PO Box 12489                                           PO Box 9001960
Knoxville, TN 37912                                    Louisville, KY 40290

Graves Crossing Retail LLC                             Louisville Moonlight, LLC
7101 Sharondale Ct.                                    NAI Fortis Group, LLC
Suite 600                                              462 South 4th Street, Suite 400
Brentwood, TN 37027                                    Louisville, KY 40202

Hardin County Clerk                                    LUCB
150 N Provident Way                                    PO Box 449
Elizabethtown, KY 42701                                Lenoir City, TN 37771

Hardin County Water                                    Middle Tennessee Electric
1400 Rogersville Road                                  PO Box 681709
Radcliff, KY 40160                                     Franklin, TN 37068

Hatcher Hill Investment Group IV, LLC                  Nashville Electric Service
128 N. Northshore Drive                                P O Box 305099
Suite 201                                              Nashville, TN 37230
Knoxville, TN 37919
                                                       Nashville Metro Water Services
Haygood Farms, LLC                                     PO Box 305225
PO Box 4351                                            Nashville, TN 37230
Chattanooga, TN 37405
                                                       Naturally Kratom, LLC
Haynes Property LLC                                    13326 Immanuel Rd Box 3
ATTN: Bobby Haynes                                     Pflugerville, TX 78660
1216 Heil Quaker Blvd
La Vergne, TN 37086                                    NRF Marketplace, LLC
                                                       1045 S. Woodmill Road
Hopkinsville Water                                     6 East Monroe, Suite 300
401 E. 9th Street                                      Chesterfield, MO 63017
Hopkinsville, KY 42240
                                                       P&M Investment Company, LLC
Itria Ventures                                         2 Buckland Abbey Drive
1000 N West St #1200                                   Nashville, TN 37215
Wilmington, DE 19801
                                                       Parapoint LLC
Itria Ventures, LLC                                    5215 Linbar Dr. Suite 204
1000 N West St                                         Nashville, TN 37211
Wilmington, DE 19801
                                                       Pennyrile Electric
Koi CBD, LLC                                           PO Box 2900
18101 Von Karmen Ave                                   Hopkinsville, KY 42241
Irvine, CA 92612
                                                       Piedmont Natural Gas
KPCG Properties                                        PO Box 660920
2500 Daniel Bridgees Road                              Dallas, TX 75266
Building 100, Second Floor
Athens, GA 30606                                       Pure Synergy
                                                       200 2nd Ave S. #443
                                                       Saint Petersburg, FL 33701




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R&L CPA: Stan Robinson                                    Vapemod
PO Box 2521                                               FNYBB inc
Carrollton, GA 30118                                      3016 South Wentworth
                                                          Chicago, IL 60616
Robert Arnold
5215 Linbar Ave.                                          Vertigo Vapor, Inc.
Ste. 204                                                  150 N Gibson Rd Ste C
Nashville, TN 37211                                       Henderson, NV 89014

Robert Arnold                                             Vivid Data Group, LLC
5215 Linbar Dr., Suite 204                                330 Earhart Dr Ste 102
Nashville, TN 37211                                       Carrollton, TX 75006

Robert Arnold                                             Yale Smyrna, LLC
5215 Linbar Dr. Suite 204                                 c/o Yale Realty Services Corp.
Nashville, TN 37211                                       10 King Street, Suite 102
                                                          White Plains, NY 10604
Saffire Vapor Distributions, LLC
5215 Linbar Dr.
Suite 204
Nashville, TN 37211

Saffire Vapor Holdings, LLC
5215 Linbar Dr.
Suite 204
Nashville, TN 37211

Saffire Vapor Holdings, LLC
5215 Linbar
Suite 204
Nashville, TN 37211

Smyrna Utilities
PO Box 290009
Nashville, TN 37229

Spectrum
PO Box 94188
Palatine, IL 60094

Tennessee Department of Revenue
Tennessee Department of Revenue c/o Tenn
P.O. Box 20207
Nashville, TN 37202

The Poteat Family Limited Partnership
Holrob Commercial Realty
7441 S. Northshore Drive, Suite 103
Knoxville, TN 37919

Truist
214 North Tryon St.
Charlotte, NC 28202

V3 Venture Partners
345 S. Jefferson Ave
Suite 306
Cookeville, TN 38501




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